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                             EXHIBIT 1
                           Declaration of
                      %HQMDPLQ%ULHVFKNH
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                                   FSA Time Credit Assessment
                                        Register Number:54652-509, Last Name:PARVIZ

U.S. DEPARTMENT OF JUSTICE                                                            FEDERAL BUREAU OF PRISONS

Register Number....: 54652-509                                Responsible Facility: SET
Inmate Name                                                   Assessment Date.....: 02-03-2024
  Last.............: PARVIZ                                   Period Start/Stop...: 08-09-2022 to 02-03-2024
  First............: MAHSA                                    Accrued Pgm Days....: 318
  Middle...........:                                          Disallowed Pgm Days.: 225
  Suffix...........:                                          FTC Towards RRC/HC..: 0
Gender.............: FEMALE                                   FTC Towards Release.: 100
Start Incarceration: 07-12-2022                               Apply FTC to Release: No

Start          Stop            Pgm Status     Pgm Days
08-09-2022     02-03-2024      accrue         318
  Cannot apply FTC
    Facility Category         Assignment    Start                 Stop
    SET        FSA            R-MED         08-14-2023 0638       CURRENT
-----------------------------------------------------------------------------------------------
Start          Stop            Pgm Status     Pgm Days
08-09-2022     01-01-2023      accrue         145
  Accrued Pgm Days...: 145
  Carry Over Pgm Days: 0
  Time Credit Factor.: 10
  Time Credits.......: 40
-----------------------------------------------------------------------------------------------
Start          Stop            Pgm Status     Pgm Days
01-01-2023     08-14-2023      disallow       225
  In SHU
    Facility Category         Assignment    Start                 Stop
    SET        QTR            Z02-211LDS    04-04-2023 0747       04-17-2023 1224
    SET        QTR            Z02-208LDS    04-17-2023 1224       04-20-2023 1345
  Incomplete needs assessment
    Missing Need Area(s)
    Anger/Hostility
    Antisocial Peers
    Cognitions
    Family/Parenting
-----------------------------------------------------------------------------------------------
Start          Stop            Pgm Status     Pgm Days
08-14-2023     02-03-2024      accrue         173
  Accrued Pgm Days...: 173
  Carry Over Pgm Days: 25
  Time Credit Factor.: 10
  Time Credits.......: 60




Assessment Date: 02-03-2024                                (1)                                 Assessment# -2145453620
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                                   FSA Time Credit Assessment
                                  Register Number:54652-509, Last Name:PARVIZ

U.S. DEPARTMENT OF JUSTICE                                                      FEDERAL BUREAU OF PRISONS

--- FSA Assessment ----------------------------------------------------------------------------
#    Start        Stop        Status       Risk Assignment Risk Asn Start           Factor
001 08-09-2022 09-06-2022 ACTUAL           FSA R-HI            09-02-2022 1128      10
002 09-06-2022 03-05-2023 ACTUAL           FSA R-HI            09-02-2022 1128      10
003 03-05-2023 09-01-2023 ACTUAL           FSA R-HI            02-25-2023 1310      10
004 09-01-2023 02-28-2024 ACTUAL           FSA R-MED           08-14-2023 0938      10




Assessment Date: 02-03-2024                          (2)                                 Assessment# -2145453620
